                       Case 3:22-cv-00370-CRB Document 7 Filed 01/20/22 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                   NorthernDistrict
                                                __________ Districtof
                                                                    of__________
                                                                      California


 ROBERT LALOR, derivatively on behalf of PAYPAL,               )
                    INC.,                                      )
                                                               )
                                                               )
                      Plaintiff(s)                             )
        DANIEL H. SCHULMAN, JOHN D. RAINEY,                    )
                          v.
             RODNEY C. ADKINS,     JONATHAN                                           Civil Action No.           5:22-cv-00370-NC
                                                               )
        CHRISTODORO, JOHN J. DONAHOE, DAVID                    )
        W. DORMAN, BELINDA J. JOHNSON, GAIL J.
         MCGOVERN, DEBORAH M. MESSEMER,
                                                               )
         DAVID M. MOFFETT, ANN M. SARNOFF,                     )
        FRANK D. YEARY, and WENCES CASARES                     )
                     Defendant(s)                              )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) DANIEL H. SCHULMAN, JOHN D. RAINEY, RODNEY C. ADKINS, JONATHAN
                                       CHRISTODORO, JOHN J. DONAHOE, DAVID W. DORMAN, BELINDA J. JOHNSON,
                                       GAIL J. MCGOVERN, DEBORAH M. MESSEMER, DAVID M. MOFFETT, ANN M.
                                       SARNOFF, FRANK D. YEARY, and WENCES CASARES




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Rachele R. Byrd
                                       WOLF HALDENSTEIN ADLER FREEMAN & HERZ LLP
                                       750 B Street, Suite 1820
                                       San Diego, CA 92101
                                       Tel: 619-239-4599
                                       Fax: 619-234-4599

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


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Date:        1/20/2022                                                                                          Thelma Nudo
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                                                                                       C                      Signature of Clerk or Deputy Clerk
                        Case 3:22-cv-00370-CRB Document 7 Filed 01/20/22 Page 2 of 2

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 Civil Action No.      5:22-cv-00370-NC
                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
